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                                                                 18+                Split in
                                     AP                          AP      Split in   Cooper
                                     Blk     18+       18+ AP    Blk     Enacted    House
Name          Population   AP Blk    %       Pop       Blk                House      1205
Clayton          297,595   216,351   72.7%   220,578   158,854   72.0%      x          x
Cobb             766,149   223,116   29.1%   591,848   166,141   28.1%      x          x
Coffee            43,092    12,575   29.2%    32,419     9,191   28.4%      x          x
Columbia         156,010    32,516   20.8%   114,823    22,273   19.4%      x          x
Coweta           146,158    28,289   19.4%   111,155    20,196   18.2%      x          x
DeKaib           764,382   407,451   53.3%   595,276   314,230   52.8%      x          x
Dougherty         85,790    61,457   71.6%    66,266    45,631   68.9%      x          x
Douglas          144,237    74,260   51.5%   108,428    53,377   49.2%      x          x
Effingham         64,769    10,035   15.5%    47,295     6,831   14.4%      x          x
Fayette          119,194    32,076   26.9%    91,798    23,728   25.8%      x          x
Floyd             98,584    15,606   15.8%    76,295    11,064   14.5%      x          x
Forsyth          251,283    13,222    5.3%   181,193     8,751    4.8%      x          x
Fulton         1,066,710   477,624   44.8%   847,182   368,635   43.5%      x          x
 Glynn            84,499    22,098   26.2%    66,468    15,620   23.5%      x          x
 Grady            26,236     7,693   29.3%    19,962     5,678   28.4%      x          x
 Gwinnett        957,062   287,687   30.1%   709,484   202,762   28.6%      x          x
 Habersham        46,031     2,165    4.7%    35,878     1,675    4.7%      x          x
 Hall            203,136    17,006    8.4%   153,844    12,094    7.9%      x          x
 Harris           34,668     5,742   16.6%    26,799     4,431   16.5%      x          x
 Henry           240,712   125,211   52.0%   179,973    89,657   49.8%      x          x
 Houston         163,633    56,520   34.5%   122,118    39,605   32.4%      x          x
 Jackson          75,907     6,148    8.1%    56,451     4,268    7.6%      x          x
 Jasper           14,588     2,676   18.3%    11,118     1,966   17.7%      x          x
 Liberty          65,256    31,146   47.7%    48,014    21,700   45.2%      x          x
 Lowndes         118,251    46,758   39.5%    89,031    33,302   37.4%      x          x
 Madison          30,120     3,196   10.6%    23,112     2,225    9.6%      x          x
 Meriwether       20,613     7,547   36.6%    16,526     5,845   35.4%      x          x
 Monroe           27,957     6,444   23.0%    21,913     5,068   23.1%      x          x
 Muscogee        206,922   102,212   49.4%   157,052    74,301   47.3%      x          x
 Newton          112,483    55,901   49.7%    84,748    40,433   47.7%      x          x
 Paulding        168,661    41,296   24.5%   123,998    28,164   22.7%      x          x
 Peach            27,981    12,645   45.2%    22,111     9,720   44.0%      x          x
 Putnam           22,047     5,701   25.9%    17,847     4,229   23.7%      x          x
 Richmond        206,607   119,970   58.1%   160,899    87,930   54.6%      x          x
 Rockdale         93,570    57,204   61.1%    71,503    41,935   58.6%      x          x
 Spalding         67,306    24,522   36.4%    52,123    17,511   33.6%      x          x
 Sumter           29,616    15,546   52.5%    23,036    11,479   49.8%      x          x



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                                                                     18+                Split in
                                         AP                          AP      Split in   Cooper
                                         BIk     18+       18+ AP    Bik     Enacted    House
     Name         Population   AP Bik    %       Pop       Bik       %        House      1205
     Tattnall         22,842     6,331   27.7%    17,654    4,886    27.7%      x          x
     Telfair          12,477     4,754   38.1%    10,190    3,806    37.4%      x          x
     Thomas           45,798    16,975   37.1%    35,037    12,332   35.2%      x          x
     Tift             41,344    12,734   30.8%    31,224     8,963   28.7%      x          x
     Troup            69,426   25,473    36.7%    52,581    18,202   34.6%      x          x
     Walker           67,654     3,664    5.4%    52,794    2,454     4.6%      x          x
     Walton           96,673    18,804   19.5%    73,098    13,165   18.0%      x          x
     Ware             36,251    11,421   31.5%    27,788    8,226    29.6%      x          x
     Wayne            30,144     6,390   21.2%    23,105    4,662    20.2%      x          x
     Whitfield       102,864     4,919    4.8%    76,262    3,349     4.4%      x          x
     Appling          18,444     3,647   19.8%    13,958    2,540    18.2%      x
     Ben Hill         17,194     6,537   38.0%    13,165    4,745    36.0%      x
     Cook             17,229     5,014   29.1%    12,938    3,595    27.8%      x
     Dawson          26,798       392     1.5%    21,441      249     1.2%      x
     Gordon           57,544     2,919    5.1%    43,500     1,939    4.5%      x
     Jones           28,347      7,114   25.1%    21,575    5,341    24.8%      x
     Lamar            18,500     5,220   28.2%    14,541    4,017    27.6%      x
     Lumpkin         33,488       685     2.0%    27,689      507     1.8%      x
     McDuffie        21,632     9,045    41.8%    16,615    6,425    38.7%      x
     Oconee          41,799     2,280     5.5%    30,221     1,660    5.5%      x
     White           28,003       721     2.6%    22,482      484     2.2%      x
     Burke           24,596     11,430   46.5%    18,778    8,362    44.5%                 x
     Colquitt        45,898     10,648   23.2%    34,193    7,461    21.8%                 x
     Jefferson        15,709     8,208   52.3%    12,301    6,324    51.4%                 x
     Johnson           9,189    3,124    34.0%     7,474    2,513    33.6%                 x
     Laurens         49,570     19,132   38.6%    37,734   13,695    36.3%                 x
     Lee             33,163     7,755    23.4%    24,676    5,503    22.3%                 x
     Oglethorpe       14,825    2,468    16.6%    11,639    1,853    15.9%                 x
     Screven          14,067    5,527    39.3%    10,893    4,144    38.0%                 x
     Upson           27,700     8,324    30.1%   21,711     6,202    28.6%                 x
     Wilkes            9,565    3,989    41.7%     7,651    3,071    40.1%                 x
     TOTAL                                                                     69         68




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      76.    In comparison to the enacted House plan, the Cooper 1205 House plan

makes 11 counties whole but introduces ten new county splits.       The additional split

counties are attributable to the effort to create new majority Black districts.

      77.    Based on my analysis of the Cooper 1205 House plan, the impact of

engineering more majority Black districts can be seen in the overall plan metrics and

the differences from the enacted plan.        Further, my analysis of the traditional

redistricting factors   -   maintaining   communities     and traditional boundaries,

compactness, and deviation    -   along with the manipulation of the boundaries of the

new AP-Black districts, supports my opinion that the Cooper 1205 House plan is

focused on race, prioritizing race to the detriment of traditional redistricting factors.




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          Ideclare under penalty of perjury that the foregoing is true and correct.


    Executed this 23rd day of January, 2023.



                                                        JOHN B. MORGAN




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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION



  ALPHA PHI ALPHA FRATERNITY
  INC., et al.,


                Plainti
                      ffs,
                                                          Civ. No. 21-5337
                vs.

  BRAD RAFFENSPERGER, in his
  official capacity as Secretary of State of
  Georgia.

                Defendant.



                      DECLARATION OF WILLIAM S. COOPER

         WILLIAM S. COOPER, acting in accordance with 28 U.S.C. §1746,

  Federal Rule of Civil Procedure 26(a)(2)(B), and Federal Rules of Evidence 702

  and 703, does hereby declare and say:

  I.     INTRODUCTION

         1.   My name is William S. Cooper. Ihave aB.A. in Economics from

  Davidson College. As aprivate consultant, Iserve as ademographic and

  redistricting expert for the Plaintiffs.

         2.   Ihave testified at trial as an expert witness on redistricting and

  demographics in federal courts in about 50 voting rights cases since the late 1980s.

  Over 25 of the cases led to changes in local election district plans. Five of the cases




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resulted in changes to statewide legislative boundaries: Rural West Tennessee

African-American Affairs Council, Inc. v. McWherter, No. 92-cv-2407 (W.D.

Tenn. 1995); Old Person v. Brown, No. 96-cv-0004 (D. Mont. 2002); Bone Shirt v.

Hazeltine, No. 01-cv-3032 (D.S.D. 2004); Alabama Legislative Black Caucus v.

Alabama, No. 12-cv-691 (M.D. Ala. 2017), and Thomas v. Reeves (S.D. Miss.

2019). In Bone Shirt v. Hazeltine, the court adopted the remedial plan Ideveloped.

      3.   Iserved as the Gingles 1expert for two post-2010 local-level Section 2

cases in Georgia, NAACP v. Fayette County and NAACP v. Emanuel County. In

both cases, the parties settled on redistricting plans that Ideveloped (with input

from the respective defendants). In the latter part of the decade, Iserved as the

Gingles 1expert in three additional Section 2cases in Georgia, which were all

voluntarily dismissed after the 2018 elections: Georgia NAACP v. Gwinnett

County), No. 1:16-cv-02852-AT; Thompson v. Kemp, No. 1:17-cv-0 1427 (N.D.

Ga. 2018); and Dwight v. Kemp, No. 1:18-cv-2869 (N.D. Ga. 2018).

      4.   In 2022, Ihave testified as an expert in redistricting and demographics in

six cases challenging district boundaries under Section 2of the Voting Rights Act:

Caster v. Merrill, No. 21-1356-AMM (N.D. Ala.), Pendergrass v. Raffensperger,

No. 21-05337-SCJ (N.D. Ga.), Alpha Phi Alpha Fraternity v. Raffensperger, No.

21-05339-SCJ (M.D. Ga.), NAACP vBaltimore County, No.21-cv-03232-LKG

(Md.), Christian Ministerial Alliance v. Hutchinson No. 4:19-cv-402-JM (E.D.


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  Ark.), and Robinson vArdoin, No. 3:22-cv-0021 1-SDD-SDJ (M.D. La.). Ialso

  testified at trial this year as an expert on demographics in NAACP v. Lee, No. 4:21-

  cv- 187-MW/MAF (N.D. Fla.), acase involving recent changes to Florida election

  law.

         5.    Since the release of the 2020 Census, three county commission-level

  plans Ideveloped as aprivate consultant have been adopted by local governments

  in San Juan County, Utah, Bolivar County, Mississippi, and Washington County,

  Mississippi. In addition, aschool board plan Ideveloped was adopted by the

  Jefferson County, Alabama Board of Education subsequent to my expert work in

  the long-running case of Stout v. Jefferson County Board ofEducation, No. 2:65-

  cv-00396-MHH (N.D. Ala.).

         6.   My redistricting experience is further documented in my curriculum

  vitae, which is attached as Exhibit A.

  A. Purpose of Declaration

         7.   The attorneys for the Plaintiffs in this case asked me to determine

  whether the African-American 1population in Georgia is "sufficiently large and




  IIn this report, "African-American" refers to persons who are single-race Black or Any Part
  Black (i.e. persons of two or more races and some part Black), including Hispanic Black. In
  some instances (e.g. for historical comparisons) numerical or percentage references identify
  single-race Black as "SR Black" and Any Part Black as "AP Black." Unless noted otherwise,
  "Black" means AP Black. It is my understanding that following the U.S. Supreme Court decision




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geographically compact" to allow for the creation, consistent with traditional

redistricting principles, of additional majority-Black Senate and House districts

beyond those created in the legislative plans that were signed into law by Governor

Kemp on December 30, 2021—in other words, districts that meet the first Gingles

precondition ("Gingles l") .2

       8.       For purposes of the Gingles 1analysis in this report, and unless

otherwise noted, Idefine majority-Black districts as those that are majority-Black

voting age ("BVAP"). Ialso report whether districts are majority-Black citizen

voting age ("BCVAP"). 3




in Georgia v. Ashcroft, 539 U.S. 461 (2003), the "Any Part" definition is an appropriate Census
classification to use in most Section 2cases.

Throughout this report, Irefer to the two legislative plans signed into law by Governor Kemp as
the "2021 Senate Plan" and the "2021 House Plan," respectively.

2 See Thornburg i'.   Gingles, 478 U.S. 30, 50 (1986).


3The CVAP levels reported herein are estimates based on block group level infonnation
published by the U.S. Census Bureau's American Communities Survey (ACS). Unless noted
otherwise, the CVAP estimates Ireport here count only persons who are non-Hispanic ("NH")
SR Black and are therefore the most conservative measure of Black citizenship. In the
            -




summary population exhibits that Ihave prepared for each plan, Ialso report the NH DOJ Black
CVAP metric. The NH DOJ Black CVAP category includes voting age citizens who are either
NH SR Black or NH Black and White. An "Any Part Black CVAP" category which would
include Black Hispanics cannot be calculated from the 5-Year ACS Census Bureau Special
Tabulation.

The most current ACS data available is from the 2016-2020 ACS Special Tabulation, with a
survey midpoint of July, 12018. https ://www.census.gov/programs-surveys/decennial-
census/about/voting-rights/cvap.html. The 2016-2020 estimates reflect Census 2020 population
distribution. The 2017-2021 Special Tabulation will be released by the Census Bureau in early
2023, which could require updates to the number of majority-BCVAP districts by plan.

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           9.    The two illustrative plans that Ihave prepared (one for the State House

   and one for the State Senate) demonstrate that Georgia's Black population is

   sufficiently numerous and geographically compact to allow for the creation of at

   least three additional majority-Black Senate districts and at least five additional

   majority-Black House districts.


           10.   The illustrative plans comply with traditional redistricting principles,

   including population equality, compactness, contiguity, respect for communities of

   interest, and the non-dilution of minority voting strength.

          11.    The illustrative plans are drawn to follow, to the extent possible, county

   and VTD 4 boundaries. Where counties are split to comply with one-person one-vote

   requirements or to avoid pairing incumbents, Ihave generally used whole 2020

   Census VTDs as sub-county components. Where VTDs are split, Ihave followed

   census block boundaries that are aligned with roads, natural features, census block

   groups, municipal boundaries, and/or current county commission districts.

          12.    Exhibit B describes the sources and methodology Ihave employed in

   the preparation of this report and the illustrative plans. Briefly, Iused the Maptitude


   software program as well as data and shapefiles from the U.S. Census Bureau and

   the Georgia Legislative and Congressional Reapportionment Office, among other




    "VTD" is aCensus Bureau tel-rn meaning "voting tabulation district." VTDs generally
   correspond to precincts. Statewide, there are 2,698 2020 VTDs.

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sources. Ialso used official incumbent address information supplied to Plaintiffs'

attorneys by Defendants in January 2022, as well as another potential database of

incumbent address information following the November 2022 General Election

using the 2021 Plans, which Iunderstand is largely based on the address

information contained in the candidate qualifying materials of successful State

House and State Senate candidates.

B. Summary of Expert Conclusions

       13. Based on my Gingles 1analysis, Iconclude the following:

                                          State Senate

       .      The 2021 Senate Plan contains 14 majority-Black districts that are

       BVAP majority (15 are BCVAP majority).


       •      As shown in the Plaintiffs' Illustrative Senate Plan, astatewide Senate

       plan can be drawn with 18 majority-Black districts, including two additional


       majority-Black districts in south Metro Atlanta and an additional majority-

       Black district anchored in the eastern portion of Georgia's Black Belt

       (encompassing part of Augusta-Richmond County and extending west to


       Twiggs County). 5




5The Illustrative Senate Plan described infra also creates an additional majority- Black Senate
district in the counties of Cobb and Fulton (District 33), for atotal of 18 statewide.

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        •     The Black population in south Metro Atlanta is sufficiently numerous

        and geographically compact to allow for the creation of at least two

        additional compact majority-Black Senate districts, while adhering to

        traditional redistricting principles.


        •     The Black population in and around Georgia's eastern Black Belt

        counties is sufficiently numerous and geographically compact to form an

        additional majority-Black Senate district, while adhering to traditional

        redistricting principles.


                                        State House


         •    The 2021 House Plan contains 49 majority-Black districts (47 of which

         are also majority BCVAP).


         •    As shown in the Plaintiffs' Illustrative House Plan, astatewide House

         Plan can be drawn with at least 54 majority-Black districts (53 that are both

         BVAP and BCVAP majority), including five additional majority-Black

         districts. Two of the additional majority Black districts are anchored in south

         Metro Atlanta, two are in Georgia's Black Belt (one in the eastern end of the

         Black Belt and one in the western end, in Southwest Georgia), and one is in

         metropolitan Macon.




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       •    The Black population in south Metro Atlanta is sufficiently numerous

       and geographically compact to allow for the creation of at least two

       additional majority-Black House districts in Metro Atlanta, while adhering

       to traditional redistricting principles.


       •    The Black population in and around the eastern Black Belt counties is

       sufficiently numerous and geographically compact to form an additional

       majority-Black House district, while adhering to traditional redistricting

       principles.


       •    The Black population in and around the western Black Belt counties is

       sufficiently numerous and geographically compact to form an additional

       majority-Black House district, while adhering to traditional redistricting

       principles.


       •     The Black population in metropolitan Macon is sufficiently numerous

       and geographically compact to form an additional majority-Black district,

       while adhering to traditional redistricting principles.


C. Gi,i.ales 1Analysis   -   Focus Areas

      14. According to the data collected in the 2020 Census, and as discussed in

further detail below, Georgia's Black population has grown significantly since

2010. The State's Black population is up by 484,848 persons, the equivalent of 2.5



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       100% Black State Senate districts or eight 100% Black State House districts. By

       contrast, the State's non-Hispanic ("NH") White population actually declined

       during that same period. Yet despite the significant growth in Georgia's Black

       population since 2010, almost no additional majority-Black districts are created in

       Georgia's 2021 Senate and House Plans. 6

               15. The 2021 Senate Plan merely maintains the status quo, with 14 majority-

       Black districts, the same number as in the previous plan which was enacted in 2012

       and first used in 2014 during mid-decade redistricting (the "2014 Benchmark

       Senate Plan"). 7

              16. The 2021 House Plan has two more majority-Black districts than the

       previous plan, which was enacted in 2015 (the "2015 Benchmark House Plan")

       (and which in turn incorporated adiscrete set of changes to the plan enacted in




       6The ideal population size for aSenate district is 191,284 and 59,511 for aHouse district. Those
       numbers are derived from the State's total population and the number of seats in each body.

         Iam counting Senate District 41 (Dekalb County) as majority-Black under the 2014
       Benchmark Senate Plan. That district, which was 51.4% BVAP when drawn under the 2010
       Census, slipped to 49.76% BVAP according to the 2020 Census. It remained aBCVAP-majority
       district at 57.22% BCVAP, according to the 2015-19 ACS.

       Notably, Senate District 2(Chatham County) in the 2014 Benchmark Senate Plan was similarly
       drawn at 50.94% BVAP based on 2010 Census data, but had fallen to 47.09% BVAP under the
       2020 Census. District 2is no longer majority-BVAP (46.86% in the 2021 Senate Plan and
       46.33% under the Illustrative Senate Plan infra) but remains majority-BCVAP in both plans. I
       am not counting Senate District 2as majority-Black under the 2014 Benchmark Senate Plan,
       though Inote that doing so would result in the 2021 Senate Plan having one fewer majority-
       Black Senate district than its predecessor plan (14 under the 2021 Senate Plan versus 15 under
       the 2014 Benchmark Senate Plan).
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2012). 8 That small increase is nowhere near commensurate with the significant

growth of Georgia's Black population during that period.

       17. Under the 2021 Senate Plan, 10 of the 14 majority-Black districts are in

Metro Atlanta. Under the 2021 House Plan, 33 of the 49 majority-Black districts are

in Metro Atlanta. 9

       18. To determine where additional majority-Black districts could be drawn,

Ifocused on areas with substantial Black populations, in particular:

        (1) Metro Atlanta counties (as defined by the Atlanta-Sandy Springs-

Alpharetta Metropolitan Statistical Area ("MSA") boundaries) shown in the Census

Bureau's map in Exhibit C;

       (2) Georgia's Black Belt, as illustrated by the Georgia Budget and Policy




8 The Senate and House plans initially enacted after the 2010 Census are included in Exhibits I-
2and V-2, infra. These historical plans are not substantially different than the Benchmark plans
with respect to the number of majority-Black districts. The prior Senate and House maps,
enacted in 2006, are also included in Exhibits 1-3 and V-3, respectively.

9 In this report, Metro Atlanta refers to the 29-county Atlanta Metropolitan Statistical Area
("MSA") defined by the U.S. Office of Management and Budget. It includes the Counties of
Barrow, Bartow, Butts, Carroll, Cherokee, Clayton, Cobb, Coweta, Dawson, DeKaib, Douglas,
Fayette, Forsyth, Fulton, Gwinnett, Haralson, Heard, Henry, Jasper, Lamar, Meriwether,
Morgan, Newton, Paulding, Pickens, Pike, Rockdale, Spalding, and Walton.

MSA is an abbreviation for "metropolitan statistical area." Metropolitan statistical areas are
defined by the U.S. Office of Management and Budget and reported in historical and current
census data produced by the Census Bureau. MSAs "consist of the county or counties (or
equivalent entities) associated with at least one urbanized area of at least 50,000 population, plus
adjacent counties having ahigh degree of social and economic integration with the core as
measured through commuting ties." U.S. Census Bureau, "About,"
https://www.census.gov/programs-surveys/metro-micro/about.html.

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   Institute ("GBPI") map in Figure 1.10 Exhibit D is an excerpt from the GBPI report

   (Appendix A) identifying the Black Belt counties and school districts depicted in

   Figure 1.

   Figure 1
                               Georgia's Black Belt School Districts




     Source: Based on a GBPI analysis of historical data of enslaved labor, current enrollments of Black
     students and current enrollments of students living in poverty




          19. More broadly, and as the GBPI report explains, the term "Black Belt"

   refers to aswath of the American South that historically had large numbers of

   enslaved Black persons, and that today continues to have substantial Black

   populations. In Georgia, the area comprising the Black Belt extends roughly




   10 For acurrent and historical analysis of Georgia's Black Belt, see Stephen Owens, Education
   in Georgia's Black Belt. Policy Solutions to Help Overcome aHistory ofExclusion (GBPI
   October 10, 2019), https://gbpi.org/education-in-georgias-black-belt.

                                                         11
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southwest from the area around Augusta through Macon and Middle Georgia and

on to the southwest corner of the State.

       20. Upon review, Inarrowed my focus to four regions within those larger

areas (as illustrated by the maps in Exhibit E and Figure 4, infra):

       21.   (Region A) South Metro Atlanta: suburban /exurban counties in a

significantly Black, racially diverse, and geographically compact region that has

emerged over the past quarter of acentury—specifically, the counties of Fayette,

Spalding, Henry, Rockdale, and Newton.

       22. The Georgia Governor's Office of Planning and Budget projects that

this 5-county region will have 725,000 residents by the time of the 2030 Census        -




up by about 92,000 persons over the Census 2020 enumeration, of whom 61% will

be non-White. African-Americans are projected to account for about 60% of the

non-White population increase. 11

       23. Under the 2021 Senate Plan, parts of three majority-Black districts are in

the south Metro counties—Senate Districts 10, 34, and 43.

       24. Under the 2021 House Plan, parts of seven majority-Black House

districts are in these five south Metro counties.




11 Georgia Governor's Office of Planning and Budget, "Population Projections,"
https://opb.georgia.gov/census-data/population-projections.

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                                                                                                 I"
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          25.    (Region B) Eastern Black Belt: urban Black Belt Richmond County

   (Augusta) plus agroup of rural Black Belt counties in ageographically compact

   area. Several of the rural counties are home to long-standing Black communities

   that have not been in amajority-Black Senate district since the passage of the 1965

   Voting Rights Act.

          26. All of the Region B counties are part of the Central Savannah River

   Area Regional Commission, as shown in Exhibit F on the regional commission

   map prepared by the Georgia Department of Community Affairs ("GDCA").

   Georgia's Regional Commissions are "public agencies created and established by

   the Georgia Planning Act (O.C.G.A. 50-8-32) in order to assist local governments

   on aregional basis and to develop, promote and assist in establishing coordinated

   and comprehensive planning in the state." 2

          27. Region B encompasses the following Central Savannah River Area

   Regional Commission counties: (counter clockwise from east to west) Jenkins,

   Burke, Richmond, Jefferson, McDuffie, Wilkes, Taliaferro, Glascock, Warren,

   Washington, and Hancock. Ten of these 11 contiguous counties—excluding

   Glascock (pop. 2,884)—are identified as part of Georgia's Black Belt by GBPI.




   12 See Georgia Department of Community Affairs, "Regional Commissions,"
   https :I/www. dca. ga. gov/local-government-assistance/planninglregional-planning/regional-
   commissions; New Georgia Encyclopedia, "Regional Commissions of Georgia,"
   https://www.georgiaencyclopedia.org/articles/government-politics/regional-comrnissions-of-
   georgial.

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Moreover, additional adjacent counties, such as Baldwin County, lie outside the
                                                                                          (

Central Savannah River Area Regional Commission area but are also identified as

part of the Black Belt by GBPI and have substantial Black populations.

      28. The 2021 Senate Plan includes one majority-Black district in Region

B—Senate District 22 (56.5% BVAP)—in Augusta-Richmond County, and asmall

part of another majority Black district—Senate District 26 (56.99% BVAP)—

anchored in Macon-Bibb County.

      29. The 2021 House Plan contains five majority-Black districts in the

Region B area.

      30.   (Region C) Western Black Belt: urban Black Belt Dougherty County

(Albany) plus agroup of southwest Georgia rural Black Belt counties in a
                                                                                          (
geographically compact area, implicitly identified in the area encompassed by

majority-Black Senate District 12 (57.97% BVAP) in the 2021 Senate Plan. Region

C encompasses part of the Southwest Georgia and Valley River Area Regional

Commission areas depicted on the GDCA map in Exhibit F.

      31. The 2021 House Plan contains just two majority-Black House districts

in Region C, even though there is obviously sufficient Black population to create

three districts in an area generally circumscribed by majority-Black Senate District




                                         14
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   12 in the 2021 Senate Plan. (This is obvious because Senate Districts are just over

   three times the size of House Districts.)

           32.   Senate District 12 encompasses 13 counties: (counter clockwise from

   north to south on the GDCA map) Sumter, Webster, Stewart, Quitman, Randolph,

   Terrell, Clay, Calhoun, Dougherty, Early, Miller, Baker, and Mitchell. Twelve of

   the 13 counties—excluding Miller (pop. 6,000)—are identified by GBPI as Black

   Belt counties. 13 Moreover, additional adjacent counties, such as Thomas County, lie

   outside of Senate District 12 in the 2021 Senate Plan but are also identified as part

   of the Black Belt by GBPI and have substantial Black populations.

           33.   (Region D): Metropolitan Macon: aseven-county region in Middle

   Georgia defined by the combined MSAs of Macon-Bibb and Warner Robins. Three

   of the Macon area counties are identified as part of Georgia's Black Belt by




   13 Plaintiffs' Illustrative Senate Plan also contains amajority-Black Senate District in the same
   general area of southwest Georgia, Illustrative Senate District 12 (57.97% BVAP).

                                                   15
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GBPI—Macon-Bibb, Peach, and Twiggs, encompassing about 59% of the Black

population (177,269) in the seven-county region. 14

       34. As shown in the map in Exhibit F, these seven MSA counties form the

core of the Middle Georgia Regional Commission.

       35. As is the case with Region C, the 2021 House Plan contains just two

majority-Black House districts in Region D, even though there is obviously

sufficient Black population to create three House districts in an area generally

circumscribed by the Macon-Bibb Warner Robins portion of majority-Black Senate

District 26 in the 2021 Senate Plan. 15

D. Organization of Declaration

       36. The remainder of this report is organized as follows: Section II reviews

state and regional demographics since 1990. Section III reviews the benchmark

2014 Senate Plan and the 2021 Senate Plan. Section IV presents the Illustrative

Senate Plan that Ihave prepared, containing 18 majority-Black districts. Section V

reviews the benchmark 2015 House Plan and the enacted 2021 House Plan. Section




14 The Macon-Bibb MSA includes the Counties of Twiggs, Macon-Bibb, Jones, Monroe, and
Crawford. The adjacent Warner Robins MSA encompasses Houston and Peach Counties. As
noted supra, MSAs are in part defined by "counties having ahigh degree of social and economic
integration with the core as measured through commuting ties."

15 The Illustrative Senate Plan infra also contains amajority-Black Senate District in the same
general area of metropolitan Macon, Illustrative Senate District 12 (52.8 1% BVAP), in the
counties of Macon-Bibb and Houston.

                                               16
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   VI presents the Illustrative House Plan that Ihave prepared, containing 54 majority-

   Black districts.


          37. An Appendix at the end of my report contains maps and population

   summaries overlaying the challenged districts in the 2021 House and Senate Plans

   onto historical plans that were in effect from the late 1990s to 2021. Iprepared the

   maps and population summaries in the Appendix at the request of the attorneys for

   the Plaintiffs. The maps and accompanying population data show how the

   population living in the area of the challenged districts has been divided and

   distributed into historical districts under legislative plans from the 1990s to the

   present day.



   II. DEMOGRAPHIC PROFILE              -   STATEWIDE AND REGIONAL

         38.   This section provides current and historical population summaries for

   Georgia, Metro Atlanta, and for the four distinct areas where additional majority-

   Black legislative districts can be created—generally defined by (Region A) the 5-

   county south Metro Atlanta area, (Region B) the 11-county area in the eastern

   Black Belt within the Augusta/Central Savannah River Regional Commission area,

   (Region C) the 13-county western Black Belt around Albany and Southwest

   Georgia, and (Region D) the 7-county combined Macon-Bibb Warner Robins

   MSAs within the larger geographic area defined by the Middle Georgia Regional

   Commission.

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A. 2010 to 2020: A Decade of Minority Population Growth in Georgia

      39. According to the 2020 Census, Georgia has atotal population of

10,711,908—up by 1.02 million since 2010. Georgia's population growth since

2010 can be attributed entirely to gains in the overall minority population.

      40. Between 2010 and 2020, nearly half (47.26%) of the State's population


gain is attributed to Black population growth.

      41. Figure 2reveals that Georgia's Black population, as ashare of the

overall statewide population, increased between 2010 and 2020 from 31.53% Black

in 2010 to 33.03% in 2020. Over the 2010 to 2020 decade, the Black population in

Georgia increased by 484,048 persons—an increase of nearly 16% from the 2010

baseline. By contrast, between 2010 and 2020, the NH White population fell by   -




51,764 persons.




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   Figure 2
                                 Georgia 2010 Census to 2020 Census
                                         -




                                   Population by Race and Ethnicity
                                                                                       2010-     %2010-
                                        2010                    2020                   2020       2020
                                       Number        Percent   Number       Percent   Change     Change
           Total Population            9,687,653 100.0%        10,711,908 100.00%1,024,255         9.56%
           NH Whit e*                  5,413,920 55.88%        5,362,156     50.06%    -51,764    -0.48%
           Total Minority Pop.         4,273,733 44.12%        5,349,752     49.94%1,076,019      10.05%
           Latino                       853,689       8.81%     1,123,457    10.49%   269,768      2.52%
           NH Bl ac k*                 2,910,800 30.05%        3,278,119     30.60%   367,319      3.43%
           N}lAsian*                    311,692       3.22%      475,680      4.44%   163,988      1.53%
           NH Hawaiian and       J*          5,152    0.05%        6,101      0.06%       949      0.01%
           NH American Indian and
           Alaska Nati ve *              21,279       0.22%       20,375      0.19%      -904     -0.01%
           NH Other*                      19,141      0.20%       55,887      0.52%    36,746      0.34%
           NH Two or More Races         151,980       1.57%     390,133      3.65% 238,153        2.22%
           SR Black
           (Single-race Black)         2,950,435 30.46%        3,320,513    31.00%    370,078      3.45%
           AP Black
           (Any Part Black)            3,054,098 31.53%        3,538,146    33.03%    484,048      4.52%
           NH Any Part Black           2,997,627 30.94%        3,455,484    32.26%    457,857      4.27%


   * Single-race,   non-Hispanic.


          42. Non-Hispanic Whites are arazor-thin majority of the 2020 population

   (50.06%). Black Georgians account for one-third (33.03%) of the population and

   comprise the largest minority population, followed by Latinos (10.49%).

   B. Voting Age and Citizen Voting Age Populations in Georgia

          43. As shown in Figure 3, African Americans in Georgia constitute a

   slightly smaller percentage of the voting age population (VAP) than the total

   population. According to the 2020 Census, Georgia has atotal VAP of 8,220,274                           -




   of whom 2,607,986 (31.73%) are AP Black. The NH White VAP is 4,342,333

   (52.82%).



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Figure 3
       Georgia      -   2020 Voting Age Population & 2021 Estimated Citizen Voting
                          Age Population by Race and Ethnicity' 6

                                                                     2020      2021
                                                                     YAP      CVAP
                                                       2020 VAP     Percent   Percent
                        Total                          8,220,274    100.00%   100.00%
                        NH White 18+                   4,342,333     52.82%      55.7%
                        Total Minority 18+             3,877,941     47.18%     44.3%
                        Latino 18+                       742,918      9.04%       5.9%

                        Single-race Black (Including
                        Black Hispanics)] 8+           2,488,419     30.27%      31.4%
                        Any Part Black (Including
                        Black Hispanics) 18+            2,607,986    31.73%      33.3%


       44. The rightmost column in Figure 3reveals that both the Black and NH

White population comprise ahigher percentage of CVAP than the corresponding

VAP, owing to higher non-citizenship rates among other minority populations.

       45. According to estimates from the 2021 1-year American Community

Survey ("ACS"), African Americans represent 33.3% of the statewide CVAP—

about 1.5 percentage points higher than the 2020 AP Black yAP. The NH White

CVAP is 55.7%, nearly 3points higher than NH White VAP in the 2020 Census.




16 Sources:
PL94-171 Redistricting File (Census 2020);

Table S2901   --   CITIZEN, VOTING-AGE POPULATION BY SELECTED CHARACTERISTICS
(1-year 2021 ACS)
https://data.census.gov/cedsci/table?q=S2901&g=0400000USI 3&fid=ACSST 1
                                                                      Y202 1.S2901


2021 ACS 1-Year Estimates Public Use Microdata Sample
https://data.census.gov/mdat/#/search?dsACSPUMS 1Y202 1&vv=AGEP%2800, 18%3A99%29
&cv=RACBLK%28 1%29&rv=ucgid,CIT%28 1,2,3,4,%29&wt=PWGTP&g=0400000U5 13

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              46.      The Black CVAP in Georgia is poised to go up this decade. According

       to the 2021 1-year ACS, Black citizens of all ages represent 34.45% of all

       citizens. 17

       C. 2020 Census Spatial Distribution of Georgia's Black Population

              47.     The map in Figure 4below depicts the 2020 Black population

       percentage for Georgia's 159 counties. 67 are in the 20% to 40% range, 33 are 40%

       to 60%, and 8are between 60% and 73%. The bold black boundary identifies the

       Atlanta MSA.

              48.     Color lines on the Figure 4map demarcate the areas Ifocused on in

       considering prospects for additional majority-Black House districts: Region A (blue

       outline), which is south Metro Atlanta; Region B (red outline), agroup of Black
U
       Belt counties around Augusta (Richmond County); Region C (green outline), a

       group of Black Belt counties around Albany (Dougherty County) comprising 2021

       Senate District 12; and Region D(purple outline), the seven counties in Middle

       Georgia (Macon-Warner Robins MSAs). A high-resolution version of the Figure 4

       map is in Exhibit E.




          17 Source:

       2021 ACS 1-Year Estimates Public Use Microdata Sample
       https://data.census.gov/mdat/#/search?ds=ACSPUM Si Y202 1&vv=AGEP&cv=RACBLK%28 1
       %29&rv=ucgid,CIT%28 1,2,3 ,4%29&wt=PWGTP&g=0400000U5 13

                                                  21
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Figure 4
             2020 Census                        --     Black Population by County
                                                                                                                                                                    Georgia
                 CToo
                                                                                                    4
                                              FAHNIH
                                                                              RH AU N                                                                         Region A
                                                            UNION
                                                                                                                                                              Region B
               WHIR                      GIL U ER
                      -
                                                                                                                                                              Region C
                                                                     41     ER SN
                                                           UMPIII                                                                                             Region 0
              AT100   f    GORDON
                                             ICKEN-    W                                                                                                      Atlanta MSA
                                                                   HALL                                                                                     We Black by County --2020

                                         HEROKEE.          5YTUL                                                                                              00% TA 20.0% (50)
                FLOYD                                  -




                                                                      JACKSON                     ELBERT                                                      20.0% IA 40.0% (67)

                 POLK
                                                                                                                                                          EJ40.0% TA 60.0% (33)
                               ULDI      0(                                                                                                                   60.0% To 73.0% (0)
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                 HAL SO                                            WALTON                             WILKES
                                    UGLD
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                 CARROLL                                                                .REENE
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       49. Exhibit G-1 is atable showing 2010 and 2020 county populations by

race and ethnicity, with the population change between 2010 and 2020. Exhibit G-

2is atable 2000 and 2010 county populations by race and ethnicity, with

population change between 2000 and 2010. Exhibit G-3 is atable showing 1990

and 2000 county populations by race and ethnicity, with population change between

1990 and 2000. Exhibit G-4 is atable showing the percentage BVAP by county

between 1990 and 2020.




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     D. Black Population as aComponent of Total Population from 1990 to 2020

                                               (1) Georgia          -   Statewide

            50. As shown in Figure 5, Georgia's Black population has increased

     significantly in absolute and percentage teutis since 1990, from about 27% in 1990

    to 33% in 2020. Over the same time period, the percentage of the population

    identifying as NH White has dropped from 70% to 50%.

    Figure 5
                                  Georgia 1990 Census to 2020 Census
                                               -




                                     Population by Race and Ethnicity

                                 1990                       2000                     2010                 2020
                                Number       Percent       Number        Percent    Number     Percent   Number       Percent
Total Population                6,478,216     100.00% 8,186,453          100.00% 9,687,653 100.0%        10,711,908   100.00%
 NH White                       4,543,425     70.13% 5,128,661            62.65% 5,413,920 55.88%        5,362,156     50.06%
Total Minority Pop.             1,934,791     29.87% 3,057,792            37.35% 4,273,733 44.12%        5,349,752    49.94%
 Latino                          108,922           1.68%    435,227         5.32%    853,689    8.81%     1,123,457    10.49%
Bl ac k*                        1,746,565     26.96% 2,393,425            29.24% 3,054,098 31.53%        3,538,146    33.03%


    * SR Black in   1990   --   AP Black 2000-2020


                                    (2) Metro Atlanta           -       29-County MSA

            51. Figure 6summarizes the obvious. The key driver of population growth

    in Georgia this century has been Metro Atlanta, led in no small measure by alarge

    increase in the Black population in the area. (See Exhibit C depicting the 29-county

    MSA area with bold green lines).




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                                                                                                                   (
    Figure 6
                      29-County MSA Metro Atlanta 1990 to 2020
                                            -                       -




                          Population by Race and Ethnicity

                           1990                    2000                    2010               2020
                          Number       Percent    Number       Percent    Number   Percent   Number      Percent
Total Population          3,082.308    100.00% 4,263,438       100.00% 5,286,728    100.00   6,089,815   100.00%

NH White                  2,190,859     71.08% 2,576,109        60.42% 2,684,571 50.78%      2,661,835    43.71%

Total Minority Pop.        891,449      28.92%     1,687,329    39.58% 2,602,157 49.22%      3,427,980    56.29%

Latino                      58,917        1.91%     270,655       6.35%    547,894 10.36%      730,470    11.99%
Bl ac k*                   779,134      25.28%     1,248,809    29.29%    1,776,888 33.61%   2,186,815    35.91%

    * SR Black in   1990, AP Black 2000-2020


            52. Under the 1990 Census, today's 29 county-MSA was 25.28% Black,

    increasing to 35.91% in 2020. Since 2000, the Black population in Metro Atlanta

    has climbed by 75%, from 1,248,809 to 2,186,815 in 2020.

            53. According to the 2020 Census, 56.29% of Metro Atlanta residents are

    non-White—a major shift compared to the previous decade. In 2010, NH Whites

    represented 50.78% of the population.

            54. According to the 2020 Census, the 11 core counties comprising the

    Atlanta Regional Commission ("ARC") area 18 account for more than half (54.7%)

    of the statewide Black population. After expanding the Metro Atlanta area to

    include the 29 counties in the Atlanta MSA (including the 11 ARC counties), Metro

    Atlanta encompasses 61.81% of the state's Black population.




    18 Atlanta Regional Commission, "About the Atlanta Region," https://atlantaregional.org/atlanta
    region/about-the-atlanta-region.

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                          (3) Region A           -    5-County South Metro Atlanta

             55. The table in Figure 7presents similar 1990 to 2020 population details

     for the five south Metro Atlanta counties (Region A), where Ihave determined that

    two additional majority-Black Senate districts and at least two additional majority-

    Black House districts can be drawn.



    Figure 7
                    Region A 5-County South Metro Atlanta
                              -                                                -    1990 to 2020
                            Population by Race and Ethnicity


                             1990                        2000                  2010                     2020
                            Number          Percent     Number     Percent    Number        Percent    Number     Percent
 Total Population            271,512        100.00%      401,133   100.00%     559,735 100.00%          633,265   100.00%
 NH White                    227,297         83.72%      305,779    76.23%     305,092       54.5 1%    262,792    41.50%
Total Minority Pop.               44,215      16.28%      95,354    23.77%     254,643      45.49%      370,473    58.50%
 Latino                            2,757       1.02%      11,560      2.88%        33,722     6.02%      48,287     7.63%
 Black*                           38,945      14.34%      74,249     18.51%    205,426      36.70%      294,914    46.57%

    * SR Black in     1990, AP Black 2000-2020


            56. As is readily apparent from the Figure 7timeline, south Metro Atlanta

    (comprising Fayette, Henry, Spalding, Newton, and Rockdale Counties) has

    undergone adramatic demographic transformation over the past 30 years. In 1990,

    just 14.34% of the population in the 5-county south Metro Atlanta area was Black.

    By 2010, the Black population had more than doubled to reach 36.70% of the

    overall population, then climbing to 46.57% in 2020.




                                                            25
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            57. Between 2000 and 2020, the Black population in the 5-county south

   Metro Atlanta region quadrupled, from 74,249 to 294,914. The NH White

   population in the region actually decreased during the same period.

                                   (4) Region B      -     Eastern Black Belt

            58.    In contrast to south Metro Atlanta, the Black Belt counties in and around

   the Augusta area have experienced aslight overall population decline since 1990,

    from 331,615 to 325,164 in 2020. However, the Black population in the region has

    grown. Figure 8reveals that a19% increase in the Black population since 1990 has

   been offset by a28.7% decline in the NH White population.

    Figure 8
           Region B Eastern Black Belt Area 1990 to 2020
                           -                                         -




                   Ponulation by Race and Ethnicity
                                                                                                                            (
                           1990                      2000                         2010                 2020
                          Number         Percent    Number         Percent       Number     Percent   Number      Percent
Total Population               331,615   100.00%         321,998   100.00%        322,852    100.00     325,164 100.00%
NH White                       174,163    52.52%         146,870    45.61%        133,467 41.34%        124,115    38.17%
Total Minority Pop.            157,452    47.48%         175,128    54.39%        189,385 58.66%        201,049    61.83%
Latino                           4,412      1.33%          7,173         2.23%     11,179    3.46%       14,751     4.54%
Bl ac k*                       149,307    45.02%         163,130     50.66%       173,238 53.66%        177,610    54.62%

    *   SR Black in 1990, AP Black 2000-2020


             59. In 1990, the Black population in Region B represented 45.02% of the

    total population, climbing to 54.62% in 2020.

             60. The total 2020 population in the 11-county area that Iidentified as

    Region B is sufficient to form about 1.7 Senate districts or 5.5 House districts,

    which is below what would be necessary to create asecond majority-Black Senate


                                                            26
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     district or asixth majority-Black House district. However, as shown in the

     Illustrative Senate and House Plans discussed in this report, this population deficit

     can be overcome, and additional majority-Black Senate and House districts can be

     drawn, by including contiguous, demographically similar Black Belt counties such

     as Baldwin, Twiggs, and Wilkinson in the additional districts.

                                   (5) Region C        -    Western Black Belt

            61. As shown in Figure 9, the western Black Belt has experienced a

     population decline since 2010, after holding relatively stable between 1990 and

     2010. All of the population loss can be attributed to asteady decline in the NH

     White population over the past several decades

     Figure 9
                    Region C Western Black Belt Area 1990 to 2020
                              -                                           -




                           Population by Race and Ethnicity

                             1990                      2000                      2010                 2020
                            Number         Percent    Number         Percent    Number     Percent   Number     Percent
 Total Population             205,742      100.00%         214,686   100.00%     209,747    100.00    190,819   100.00%
 NH White                     100,751       48.97%          90,946    42.36%      76,748 36.59%        64,553    33.83%
 Total Minority Pop.          104,991       51.03%         123,740    57.64%     132,999 63.41%       126,266    66.17%
 Latino                           1,485       0.72%          3,588      1.67%      7,377    3.52%       7,429      3.89%
 Bl ac k*                     102,728       49.93%         118,786    55.33%     123,663 58.96%       115,621    60.59%

    * SR Black in     1990, Al? Black 2000-2020


            62. In 1990, NH Whites constituted about half of the overall population. By

    2020, NH Whites comprised only about one-third. Over the same time period, the

    Black population grew in absolute terms from 102,728 to 115,621, representing just

    under half the population in 1990, but 60.6% of the population by 2020.


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           63.   There is insufficient population to create an additional majority-Black

Senate district in Region C and the counties immediately adjacent to Region C in

the western Black Belt. However, as shown in the Illustrative House Plan discussed

in this report, an additional House district can be drawn in the area.

   (6) Region D       -   Metropolitan Macon (Macon-Bibb Warner Robins MSAs)


           64. As shown in Figure 10, metropolitan Macon has experienced steady

population growth over the past 30 years. Almost all of the growth is attributed to a

near-doubling in the non-White population from 113,653 in 1990 to 216,918 in

2020 (+90.86%).

Figure 10
                   Region D Metropolitan Macon 1990 to 2020
                              -                                -




                      Population by Race and Ethnicity


                             1990                    2000                    2010                 2020
                            Number        Percent   Number     Percent      Number     Percent   Number     Percent
Total Population             317,013      100.00%    356,801   100.00%      399,888 100.00%       425,416   100.00%
NH White                     203,360       64.15%    211,927       59.40%   216,968     54.26%    208,498    49.01%
Total Minority Pop.          113,653       35.85%    144,874       40.60%    182,920    45.74%    216,918    50.99%
Latino                            3,123     0.99%      7,247        2.03%     16,069     4.02%     22,820     5.36%
Bl ac k*                     109,958       34.69%    131,627       36.89%    157,470    39.38%    177,269    41.67%

* SR Black in      1990, AP Black 2000-2020



           65. The Black population comprised about one-third of the population in the

Macon area in 1990 (34.69%), climbing to 41.67% in 2020. Non-Hispanic Whites

represented 64.15% of the regional population in 1990, slipping to 49.01% in 2020.




                                                     28
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           66. The seven counties in the combined Macon-Bibb Warner Robins MSAs

   are Macon-Bibb, Crawford, Houston, Jones, Monroe, Peach, and Twiggs.

   According to the GBPI analysis (Exhibit D), three of the seven counties in

   metropolitan Macon are part of the contemporary Black Belt—Macon-Bibb, Peach,

   and Twiggs.


           67. Based on the 2020 Census, about seven House districts (7.15) can be

   drawn in metropolitan Macon. With aBlack population of 177,269 according to

   the 2020 Census, there is clearly sufficient Black population in the 7-county Macon

   area to encompass three majority-Black House districts rather than just two as under

   the 2021 Enacted House Plan.

   E. County and Municipal Socioeconomic Characteristics

          68.   For background on socioeconomic characteristics by race and ethnicity

   at the county, municipal, and community levels in Georgia, Ihave prepared charts

   based on the 5-year 2015-2019 ACS. That data is available online 19 and has also

   been included in acompact-disk as Exhibit CD.

          69. In addition, Exhibit CD contains charts and statistical summaries of

   socioeconomic characteristics from the 1-Year 2021 ACS for Georgia, the two most




   19 The county level data is available at: http://www.fa1rdata2000.corn1ACS_2015_19/Georgia/


   The community-level data is available at:
   http://www.fairdata2000.comIACS_20 15_i 9/Georgia/OO_Places_2500+/

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                                                                                                   (
populous MSAs in the state—Atlanta and Augusta-Richmond County 20 ,and the

four most populous counties of the Atlanta MSA—Cobb, Dekalb, Fulton, and

Gwinnett. Statistics for other less populous counties are not available in the S0201

series. 2'



III.   SENATE      -   HISTORICAL BENCHMARK PLANS AND 2021 PLAN

A. Majority-Black Senate Districts       -   1990s Plan to 2021 Plan

       70. As shown in Figure 11, despite the significant growth in Georgia's

Black population since 2000—climbing by 1.2 million persons—the number of

majority-Black Senate districts has only inched up to 14 from 13 in the 2006 Plan,

and has remained static for the last decade.




Figure 11
             Number of Majority-Black Senate Districts by Plan            -   2000 to 2021




20 The August-Richmond MSA encompasses the Counties of Augusta-Richmond, Burke,
Columbia, Lincoln, McDuffie, Wilkes, Jefferson, Warren, Jenkins and Screven.

21 Available via: http://www.fairdata2000.cornIACS_202 1/Georgia.   Source:
U.S. Census Bureau, "S0201 Selected Population Profile in the United States,"
https://data.census.gov/cedsci/table?texts020 1&t00 1%3A005%3A45 1&gO400000US 13,13%
240500000_O500000US 13067,13089,13121,13135_3 1OXXOOUS 12060,12260&y202 1


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1

                                                               Statewide   Metro Atlanta
                                                               Majority-     Majority-
                                                                 Black         Black
                                   Senate Plans 22             Districts      Districts
                             1990s Plan-2000 Census               12              7
                            2006 Plan —20l0Census                 13              10
                            2014 Plan —2020Census                 14              10
                            2021 Plan-2020 Census                 14              10


                 71. As Figure 12 reveals, despite the major changes in the composition of

         the State's population, the percentage of Black Georgians of voting age in majority-

         Black Senate districts has hovered around 50% since the mid-2000s, while the

         percentage of the NH White VAP in majority-White districts has stayed above 80%

         over the same timeframe—indicating that Black populations are disproportionately

         "cracked" or divided into majority-White districts rather than placed in majority-


(-)      Black districts. 23




         Figure 12

               Same Race YAP in Majority-Black and Majority NH White Districts
                                        2000 to 2021



         22 As discussed supra n.7, Iam including Senate District 41 (Dekaib County) as majority-Black
         under the 2014 Benchmark Senate Plan, even though it had fallen to 49.76% BVAP by the 2020
         Census. Notably, when the 2014 Benchmark Senate Plan was drawn, it had 15 total BVAP-
         majority districts under the 2010 Census, including both Senate District 41 and Senate District 2
         in Savannah. In that sense, the 2021 Senate Plan actually represents adiminution of one
         majority-Black district from the last districting effort.

         23 "Packing" describes election districts where aminority population is unnecessarily
         concentrated, resulting in an overall dilution of minority voting strength in the voting plan.
         "Cracking" describes election plans with one or more districts that fragment or divide the
         minority population, also resulting in an overall dilution of minority voting strength in the voting
         plan.

                                                          31
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                                                  Statewide %        Statewide
                                                 Black YAP in       %NH White
                                                   Majority-          YAP in
                                                     Black          Majority-
                          Senate Plans             Di st
                                                       ricts*     White Districts
                   1990s Plan —2000 Census             43.51%              90.51%
                  2006 Plan-2010 Census                53.84%              83.88%
                  2014 Plan —2020 Census               52.29%              80.64%
                  2021 Plan-2020 Census                52.45%              80.54%

*   including Senate District 2for all years and Senate District 41 for 2014 and 2021

B. 2014 Benchmark Senate Plan

         72. The map in Figure 13 displays 2014 Benchmark Senate Plan districts in

south Metro Atlanta (Region A), the eastern Black Belt (Region B) and

metropolitan Macon (Region D.) Labels on the map display the district number.

Green labels identify majority-Black districts. Exhibit H is ahigher resolution

version of the Figure 13 map.




Figure 13




                                                  32
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                         2014 Benchmark Senate Plan                                                -   Regions A, B, and D
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the 5-year 2015-2019 Special Tabulation. 24 Exhibits J-2 and J-3 provide similar

population data for the prior 2011-enacted and 2006-enacted plans.

       75. Asa result of the dramatic population shifts in Georgia since 2010, the

2014 Benchmark Senate Plan was severely malapportioned upon release of the

2020 Census, with an overall deviation of 47.75%.

       76. Including Senate District 41 in Metro Atlanta (see supra nn.7 & 22), the

2014 Benchmark Senate Plan contained 14 majority-Black districts. Fifteen districts

in the 2014 Benchmark Plan were BCVAP-majority (the 14 BVAP majority ones

plus Senate District 2in Chatham County). Seventeen were majority NH Black +

Latino + NH Asian ("B+L+A") CVAP (i.e., majority minority by CVAP).

       77. Additional 2014 Benchmark Senate Plan information regarding

compactness scores and jurisdictional splits is reported infra for comparison with

the 2021 Senate Plan and Illustrative Senate Plan metrics.

C. 2021 Senate Plan


       78. The map in Figure 14 displays 2021 Senate Plan districts in south Metro

Atlanta (Region A) and in the eastern Black Belt (Region B). Green labels identify

majority-Black districts. Exhibit K is ahigher resolution version of the Figure 14

map.




24 See U.S. Census Bureau, Citizen Voting Age Population by Race and Ethnicity,"
https ://www.census. gov/prograrns-surveys/decennial -census/about/voting-rights/cvap.html.

                                               34
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   Figure 14
                                          2021 Senate Plan                          Regions A, B, and D
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               79. Exhibit L contains amap packet depicting the 2021 Senate Plan, with

   corresponding Census 2020 statistics, prepared by GLCRO.

               80. Exhibit M-1 is atable reporting Census 2020 population statistics for

   the 56 districts in the 2021 Plan, as well as CVAP estimates from the 5-year 2016-

   2020 Special Tabulation.

               81.           Exhibit M-2 breaks out the county population components for the 56

   districts in the 2021 Senate Plan.




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      82. Exhibit M-3 is aset of 12 sub-state maps of the 2021 Plan organized by

regional commission areas.

      83. The 2021 Senate Plan contains 14 majority-Black districts (BVAP).

Fifteen are BCVAP majority (the 14 BVAP-majority districts plus Senate District 2

in Chatham County). Eighteen districts in the 2021 Senate Plan are majority


B+L+ACVAP.

      84.   Supplemental 2021 Senate Plan information regarding compactness

scores, VTD splits, county splits, municipal splits, and regional splits is reported

infra for comparison with the Illustrative Senate Plan.



IV.   ILLUSTRATIVE SENATE PLAN

A. State-level Perspective

      85. The map in Figure 15 displays Illustrative Senate Plan districts, with the

map zoomed to identify the three additional majority-Black districts (large green

labels) in south Metro Atlanta (Region A) and in the eastern Black Belt (Region B).

Exhibit N is ahigher resolution version of the Figure 15 map.




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   Figure 15
                         Additional Majority-Black Senate Districts                                                         -    17, 23, and 28
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         86. The additional majority-Black Senate districts are:

   Region A —South Metro Atlanta
   District 17: in the Counties of Clayton (part), Fayette (part), and Spalding (part)
   District 28: in the Counties of Clayton (part) and Henry (part)

   Region B Eastern Black Belt/Central Savannah River Area
                -




   District 23: in the Counties of Augusta-Richmond (part), Jenkins, Burke,
   Jefferson, Washington, Taliaferro, Hancock, Wilkes (part), Baldwin, Wilkinson,
   and Twiggs.
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(45.44% BVAP) in Chatham County is majority-BCVAP. Nineteen districts in the

Illustrative Senate Plan are majority-NH DOJ BCVAP. 25 Twenty-two districts in

the Illustrative Senate Plan are majority B+L+ACVAP.

       88. Exhibit 0-1 is atable reporting Census 2020 population statistics for

the 56 districts in the Illustrative Senate Plan, as well as CVAP estimates from the

5-year 2016-2020 Special Tabulation.

       89. Exhibit 0-2 breaks out the county population components for the 56

districts in the Illustrative Senate Plan.

       90. Exhibit 0-3 is aset of 12 sub-state maps of the Illustrative Plan

organized by regional commission areas.

       91. Exhibit 0-4 is astatewide map showing the 18 majority Black Senate
                                                                                               (
districts (green) under the Illustrative Plan, with the three additional majority-Black

districts shaded light green.

       92. Exhibit 0-5 zooms on each of the three additional majority-Black

districts in the Illustrative Senate Plan.

       93. Exhibit 0-6 is acore constituencies report, showing population shifts

by district from the 2021 Senate Plan to the Illustrative Senate Plan.




25 See supra n.3. NH DOJ BCVAP is the sum of voting age citizens who are single-race NH
Black or of 2races (NH Black and NH White).

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          94.   The text descriptions of the additional majority-Black Senate districts in

   the Illustrative Senate Plan set forth below are illustrated with side-by-side

   comparison maps, depicting the Illustrative Senate Plan and 2021 Senate Plan at the

   same scale. Higher resolution versions of these side-by-side pairings are also

   included in exhibits in the Exhibit P, Exhibit Q, and Exhibit R series, as marked

   below. The county-level population change data discussed below is reflected in

   Exhibits G-1, G-2, and G-4.

          95. The side-by-side maps are occasionally interspersed with maps

   depicting Illustrative Senate Plan boundaries in counties that are split in the process

   of creating the additional majority Black districts—e.g., Spalding and Wilkes

   Counties, which are not split in the 2021 Plan. The county-level maps reveal that

   the splits are reasonable, and especially so within the context of Georgia's

   oftentimes irregularly shaped municipal and VTD boundaries. Notably, the

   Illustrative Senate Plan overall splitsfewer counties than the 2021 Senate Plan, as

   reported infra.

   B. District-by-District Analysis

                           (1) South Metro Atlanta (Region A)

                         (a) 2021 Senate District 16 (Exhibit P-i)

         96. As shown in Figure 16, District 16 in the 2021 Senate Plan lies in the

   south and southwestern part of the Atlanta Metro area. It includes part of Fayette


                                             39
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County, extending south to encompass Spalding, Lamar and Pike Counties

(partially displayed on the map).

Figure 16
                         2021 Senate District 16 and vicinity

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      97. Both Fayette and Spalding Counties have seen significant, double-digit

growth in their Black populations over the last decade. The Black VAP in Fayette

County increased by 54.5% between 2010 and 2020 (from 15,355 to 23,728) even

as the NH White VAP fell slightly. Spalding County saw its Black VAP grow by

18.5% over the decade, with virtually no change in the White yAP.




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          98. Neighboring Clayton County, which borders Fayette and Spalding

   Counties, is majority-Black, and also has increasing Black population (30%

   increase since 2010). Senate District 16 is nevertheless drawn with aBVAP of 23%

   by packing majority-Black neighborhoods in northeast Fayette County into Senate

   District 34 (a neighboring, 69.54% BVAP district anchored in Clayton County), and

   then joining the remaining areas of Fayette County with Spalding County and Pike

   and Lamar Counties on the outer ring of Metro Atlanta.

                     (b) Illustrative Senate District 28 (Exhibit P-2)

         99. As Figure 17A reveals, amajority-Black District 28 (51.32% BVAP)

   can be drawn in the vicinity of 2021 Senate District 16 by joining adjacent portions

   of Fayette, Spalding, and Clayton Counties, and unpacking some of the Black

   population in neighboring Senate District 34 (parts of Clayton and Fayette

   Counties) as well as Senate District 44 (which also stretches into the adjacent

   portion of Clayton County). In the 2021 Senate Plan, the BVAP in these two packed

   neighboring districts stands at about 70%.




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Figure 17A
                        Illustrative Senate District 28 and vicinity
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         FULTON                                                                 Georgia Senate
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       100. Figure 17B zooms in on the City of Griffin (pop. 23,470) in Spalding

County, displaying municipal and VTD boundaries. The majority-Black City of

Griffin is placed in Illustrative District 28, with Griffin's municipal lines serving as

aborder between District 28 and District 16.




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   Figure 17B

             Griffin/Spalding County Detail         -      Illustrative Districts 28 and 16
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         101. To recap, unpacking 2021 Plan District 34 and District 44 allows a

   majority-Black Illustrative Senate District 28 to be drawn in Fayette, Spalding, and

   aneighboring part of majority-Black Clayton County, while "uncracking" the

   surrounding Black population that is drawn into 2021 Senate District 16.

                             (c) 2021 Senate District 17 (Exhibit 0-1)

         102. As shown in Figure 17C, Senate District 17, as drawn in the 2021

   Senate Plan, includes parts of Henry, Newton, and Walton Counties, and all of

   Morgan County. Of the counties in 2021 Senate District 17: Henry County's


                                                  43
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BVAP increased by almost 75% in the last decade (to reach almost 50% of the
                                                                                                                      (

county VAP) and Newton County '
                              sBVAP increased by more than 45% to reach

almost 50% of the total VAP of the county.

Fi gure 17C
                                2021 Senate District 17 and vicinity




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        103. Neighboring Dekalb and Rockdale Counties, which border Henry and

Newton Counties, also have substantial Black populations. For example, Rockdale

County is majority Black (58.6% BVAP) and the county's BVAP increased by 53%

over the last decade. Senate District 17 is nevertheless drawn in the 2021 Plan with

aBVAP under 34%, cracking the Black population in central and eastern Henry

                                                       44
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   County as well as in parts of Newton County by extending the district out into

   predominantly white and more rural Walton and Morgan counties outside the South

   Metro area, splitting multiple counties in the process. Meanwhile, the 2021 Senate

   Plan packs the Black population in Senate Districts 10 and 43 (which include parts

   of Henry, Rockdale, and Newton Counties), drawing those districts with BVAPs of

   over 70% and almost 65%, respectively.

                      (d) Illustrative Senate District 17 (Exhibit 0-2)

          104. As shown in Figure 17D, amajority-Black Senate District 17 can be

   drawn in the vicinity of 2021 Senate District 17 by unpacking the Black population

   in anumber of neighboring districts, including 2021 Senate Districts 10 and 43•26




   26 TheIllustrative Senate Plan places the booming Black population of Newton County in
   majority-Black District 43.

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Figure 17D
                                Illustrative Senate District 17 and vicinity
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         105. By unpacking 2021 Senate Districts 10 and 43 and uncracking the Black

population in central and eastern Henry County (which the 2021 Senate Plan places

in majority-White Senate District 17), amajority-Black Illustrative Senate District

17 can be drawn in Henry, Rockdale, and Dekalb Counties. As Figure 17C and

Figure 17D make clear, Illustrative Senate District 17 is much more compact than

the sprawling 2021 District 17.

         106. Figures 17E and 17F (Exhibits P-3 and P-4) show the broader South

Metro Region under both the 2021 Senate Plan and the Illustrative Senate Plan. As


                                                                            46
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   shown in those figures, the 2021 Senate Plan repeatedly cracks the growing and

   diversifying South Metro Region by submerging it in districts that stretch out into

   more rural outlying counties in the outer ring of the Atlanta MSA and beyond. By

   contrast, the Illustrative Plan includes districts that are firmly anchored in the South

   Metro and are combined with similarly growing and diverse counties closer to the

   urban core.

   Figure 17E

                       South Metro Region under the 2021 Senate Plan
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                                                                                                                             Region C
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Figure 17F
               South Metro Region under the Illustrative Senate Plan
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                                (2) Eastern Black Belt (Region B)

                                (a) 2021 District 23 (Exhibit R-1)

      107. Senate District 23 under the 2021 Plan is drawn with aBVAP under

36%. As shown in Figure 18, 2021 Senate District 23 lies around Augusta,

including outlying parts of Augusta-Richmond County and anumber of

surrounding Black Belt counties in the larger Central Savannah River region,

including Burke, Jefferson, Warren, and Taliaferro Counties.




                                                                 48
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   Figure 18
                                        2021 Senate District 23 and Vicinity

                                                                                                           Georgia Senate
                                                                                                             [ 2021_Plan_
                                  OGLETHORPE
     Monroe    -
                                                                                                                Region A
     WALTON                                                  WILKES                                             Region B
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                                                                 Wohorgton                                      Region C
                                                                                                                Region D
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                                   (b) Illustrative District 23 (Exhibit R-2)

              108. As shown in Figure 19A, an additional majority-Black Senate district

   can be drawn in the eastern Black Belt region by unpacking the Black population in

   both 2021 Senate District 22 (central Augusta-Richmond County) and 2021 Senate

   District 26 (which includes Black Belt counties to the west, such as Hancock

   County), and by uncracking the Black populations in 2021 Senate District 23 and in

   2021 Senate District 25 (which include additional contiguous Black Belt counties

   such as Baldwin County).


                                                                       49
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Figure 19A
                                   Illustrative Senate District 23 and Vicinity



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         109. Apart from Augusta-Richmond County, Wilkes County is the only other

split county in Illustrative District 23. As shown in Figure 19B, Illustrative Senate

District 23 divides Wilkes County along current administrative boundaries,

following county commission lines (green) north into the City of Washington where

it follows the western city limits of Washington before returning to east-west

commission boundaries in the center of the city.




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   Figure 19B
                                        Washington/Wilkes County Detail
         Georgia Senate
        [] Illustrative
              County Commission
              GA— Places-2020
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                   Miles
    Green Labels   --   BVAP-majority



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           110. To recap, an east-west configuration of counties across the eastern Black

   Belt allows amajority-Black Illustrative Senate District 23 to be drawn in an area

   that includes part of Augusta-Richmond County and most of the Black Belt area

   counties between Augusta and Macon.

   C. Supplemental Plan Information

                                            (1) Population Equality

           111. As demonstrated by the district-by-district population statistics in

   Exhibits 0-1 and M-1, the Illustrative Senate Plan matches the 2021 Senate Plan


                                                             51
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by staying within astringent 1% population deviation limit for each district (i.e., no

district is more than 1% away from ideal population size).

                                       (2) Compactness

       112. Compactness scores for the Illustrative Senate Plan are within the norm

for atypical legislative Plan. Exhibit S-i contains district-by-district compactness


scores generated by Maptitude for all districts in the Illustrative Senate Plan,

alongside scores for the 2014 Benchmark Senate Plan (Exhibit S-2) and the 2021

Senate Plan (Exhibit S-3).

       113. The table in Figure 20 (condensed from the Exhibit Sseries) reports

mean and minimum Reock27 and Polsby-Popper28 scores for the Illustrative Senate

Plan, the 2014 Benchmark Senate Plan, and the 2021 Senate Plan.

       114. On balance, the Illustrative Senate Plan and 2021 Senate Plan score

about the same on the widely referenced Reock and Polsby-Popper measures. If




27 "The Reock test is an area-based measure that compares each district to acircle, which is
considered to be the most compact shape possible. For each district, the Reock test computes the
ratio of the area of the district to the area of the minimum enclosing circle for the district. The
measure is always between 0and 1, with 1being the most compact. The Reock test computes
one number for each district and the minimum, maximum, mean and standard deviation for the
plan." Caliper Corporation, Maptitude For Redistricting Software Documentation.

28 The Polsby-Popper test computes the ratio of the district area to the area of acircle with the
same perimeter: 4pArea/(Perimeter2). The measure is always between 0and 1, with 1being the
most compact. The Polsby-Popper test computes one number for each district and the minimum,
maximum, mean and standard deviation for the plan. See Caliper Corporation, Maptitude For
Redistricting Software Documentation.

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   anything, the Illustrative Plan scores better inasmuch as its least compact district by

   Reock scores .22, compared to .17 for the 2021 Senate Plan.

   Figure 20
                                  Compactness Scores
         Illustrative Senate Plan and 2014 Benchmark and 2021 Senate Plans
                                                      Reock               Poisby-Popper
                                                Mean        Low           Mean      Low
               Illustrative Senate Plan               .43     .22            .28     .14
               2014 Benchmark Senate Plan             .43     .14            .27     .11
               2021 Senate Plan                       .42     .17            .29     .13


                                      (3) Jurisdictional Splits

           115.   The Exhibit T series contains Maptitude generated reports for splits of

   key geographic areas in Georgia—from VTDs to regional commissions—under the

   Illustrative Senate Plan, the 2014 Benchmark Plan, and the 2021 Senate Plan.

          116. The table in Figure 21 summarizes split counts for counties, 2020

   VTDs, and municipalities. The Illustrative Senate Plan scores better than the 2021

   Plan across all six categories.

   Figure 21
                        County and VTD Splits/Whole Municipalities            -




            Illustrative Plan versus 2014 Benchmark and 2021 Senate Plans

                                                              Single-
                                                              County       Single and       Total
                                      Total      2020         Whole       Multi County      City!
                           Split     County      VTD        City/Towns     Whole City!      Town
                         Counties    Split s*   Split s*      (478)#      Towns (531#)     Splits*
  Illustrative Senate          28          57         38            437              464       166
  2014 Benchmark               38          65         86            422              448       198
  2021 Senate                  29          60         40            434              463       169
   *p opul
         atedsplits only

   #Higher is better


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       117. Exhibit T-1 contains acounty and VTD split report for the Illustrative
                                                                                                       (

Senate Plan. Exhibit T-2 reports on the 2014 Benchmark Senate Plan and Exhibit

T-3 reports on the 2021 Senate Plan.

       118. Exhibit T-4 contains asplit report for all 531 municipalities (including

the 53 cities and towns that spill over into another county) for the Illustrative Senate

Plan. Exhibit T-5 reports on the 2014 Benchmark Senate Plan and Exhibit T-6


reports on the 2021 Senate Plan.

                                      (4) Regional Splits

        119. The table in Figure 22 shows regional splits, defined by the 12 state-

designated regional commissions and the 39 federally-designated core-based

statistical areas ("CBSAs"), which include MSAs and micropolitan statistical

areas. 29




29 As the Census Bureau has explained "Micropolitan statistical areas consist of the county or
counties (or equivalent entities) associated with at least one urban cluster of at least 10,000 but
less than 50,000 population, plus adjacent counties having ahigh degree of social and economic
integration with the core as measured through commuting ties." See also supra n.9.



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   Figure 22
                          Split Regional Commissions and CBSAs
           Illustrative Plan versus 2014 Benchmark and 2021 Senate Plans

                                              Regional
                                             Commission      Whole     CBSA
                                                Splits       CBSAs     Splits
               Illustrative Senate                      83       23             72
               2014 Benchmark Senate                    84       21             78
               2021 Senate                              89       20             79


          120. Again, the Illustrative Senate Plan scores higher than the 2021 Senate

   Plan across the three categories.

                                       (5) Incumbents

          121. The Illustrative Senate Plan modifies 35 of the 56 districts as drawn in

   the 2021 Senate Plan.

          122. Based on January 2022 incumbent address information given to

   Plaintiffs' attorneys by the Defendants in the form of ageocoded shapefile,

   Illustrative Senate District 4has an incumbent conflict. Also, as in the 2021 Plan,

   Senate Districts 13 and 52 have paired incumbents. Based on the preliminary

   analysis of incumbent address information following the November 2022 general

   election pursuant to the 2021 House Plan, three districts in the Illustrative Senate

   Plan may have incumbent conflicts: 4, 5, and 35.




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D. Comparative Socioeconomic Analysis

       123. This section of my report briefly highlights charts and tables that I

prepared from the 2015-2019 American Community Survey found on Exhibit CD

or via: http://www.fairdata2000.com/ACS -2015 - 19/Georgia/.

       124. The datasets available in these ACS-based documents facilitate


comparisons by race/ethnicity and other socioeconomic measurements across

counties that are included in relevant districts in the Illustrative Senate Plan and the

2021 Senate Plan, which can help identify commonalities and communities of

interest in the relevant areas.

       125. For example, the counties within Illustrative Senate District 28 share

socioeconomic characteristics that make them similar to one another. A relatively

high proportion of Black residents are in the labor force in Fayette, Spalding, and

Clayton Counties (64.3%, 58.2%, and 69.5% respectively). (See Exhibit CD

Reports for Fayette, Spalding, and Clayton Counties at pp. 5355.)30

       126. By comparison, the labor force participation rates for Black residents in

Pike and Lamar Counties (which are contained within 2021 Senate District 16

along with Spalding County and part of Fayette County) are lower than the




   30 Page references to Exhibit CD in this section refer to the county-specific or place-specific
documents in Exhibit CD entitled "Single-Race African Americans and Latinos vis-à-vis Non-
Hispanic Whites Selected Socio-Economic Data," which are based on the 2015-2019 ACS 5-
Year Estimates. See supra ¶ 68-69.

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   counties contained within Illustrative Senate District 28. The Black labor force

   participation rates in Pike and Lamar Counties are 51.3% and 48.0% respectively.

   (See Exhibit CD Reports for Pike and Lamar Counties at pp. 53-55.)

          127. The counties within Illustrative Senate District 17 share socioeconomic

   characteristics that make them similar to one another. For example, the counties

   that comprise Illustrative Senate District 17 are similar when educational

   attainment rates among Black residents are compared across the counties. A

   significant proportion of Black residents in Henry, Rockdale, and Dekalb Counties

   have received abachelor's degree or higher (34.5%, 29.2%, and 29.2%

   respectively). (See Exhibit CD Reports for Henry, Rockdale, and Dekaib Counties

   at pp. 21-22.)

          128. On the other hand, the counties that comprise 2021 Senate District 17

   do not share these commonalities with respect to educational attainment

   characteristics. Walton and Morgan Counties are especially different. White

   residents in Walton and Morgan Counties (77.5% and 74.0% White) are less likely

   to have received abachelor's degree or higher than Black residents in majority-

   non-White Henry County (14.1% in Walton County and 7.0% in Morgan County,

   compared to 34.5% in Henry County). (See Exhibit CD Reports for Walton and

   Morgan Counties at pp. 21-22.)




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                                                                                           (
      129. The counties within Illustrative Senate District 23 also share certain

socioeconomic characteristics that make them similar to one another. For example,

asignificant proportion of Black residents across the Illustrative Senate District 23

counties had incomes that fell below the poverty line (ranging from 20.1% of the

Black population to 38.4% of the Black population) (See Exhibit CD Reports for


relevant counties at pp. 25-29.)

E. Online Interactive Maps

       130. The Illustrative Senate Plan can also be viewed online in detail on the

Dave's Redistricting Application (DRA) website via this link:

https ://davesredistricting. org/maps#viewmap: :
                                               fe5 932c5 -df77-4a66-b242-

1112a9666e60.

       131. For comparison, the 2021 Senate Plan can be viewed via this link:

https://davesredistiicting.org/join/52efcc99-48 Id-4b95-8 e17-daddf279a5 9e.



V.    HOUSE     -   HISTORICAL BENCHMARK PLANS AND 2021 PLAN

A. Majority-Black House Districts     -   1990s Plan to 2021 Plan

       132. As shown in Figure 23, and despite the significant growth in Georgia's

Black population over the past two decades discussed earlier in this report, the

number of majority-Black House districts has climbed by just four districts from 45

(25% of districts) in the 2006 plan to 49 (27.2%) in the 2021 Plan, and has

remained more or less static for the last decade.

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   Figure 23
         Number of Majority- Black House Districts by Plan —2000 to 2021

                                                        Statewide    Metro Atlanta
                                                        Majority-      Majority-
                                                           Black          Black
                           House Plans                   Districts      Districts
                    1990s Plan-- 2000 Census               37             22
                    2006 Plan --2010 Census                45             30
                    2012 Plan-2010 Census                  48             32
                    2015 Plan --2020 Census                47             31
                    2021 Plan   --   2020 Census           49             33


          133. Since the enactment of the 2006 Plan, just three majority-Black districts

   have been added in Metro Atlanta, even as the Black population in the 29,
                                                                           county

   area has climbed by over 400,00 persons—the equivalent of nearly entire seven

   House districts based on the 2020 ideal district size.

          134. Despite the nominal increase in majority-Black House districts since

   2006, Figure 24 reveals that the percentage of Black Georgians of voting age in

   majority-Black House districts is only slightly higher than in the 1990s (52% versus

   45%). Under the 2021 Plan, the percentage of the NH White population in majority-

   White districts is down from the 1990s (76% versus 90%). Still, as with the Senate,

   the 25-point Black-White gap demonstrates that Black populations are

   disproportionately "cracked" or divided into majority-White districts in the House.




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Figure 24
    Same Race YAP in Majority-Black and Majority NH White Districts
                                         2000 to 2021

                                                 Statewide %        Statewide
                                                Black VAP in       %NH White
                                                  Majority-           VAP in
                                                    Black         Majority-White
                           House Plans            Di st
                                                      rict
                                                         s*          Districts
                    1990s Plan-2000 Census          44.81%            90.49%
                    2006 Plan-2010 Census           44.61%            83.73%
                    2015 Plan —2020 Census          47.94%            77.6%
                    2021 Plan-2020 Census           51.65%            76.16%


*   including Districts that are BVAP- and/or BCVAP-majority


B. 2015 Benchmark House Plan


         135. The map in Figure 25 displays 2015 Benchmark House Plan districts in

south Metro Atlanta (Region A) and in the eastern and western Black Belt (Regions

B and C) and metropolitan Macon (Region D). Labels on the map display the

district number. Green labels identify majority-Black districts.




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   Figure 25

                          2015 Benchmark House Plan                               —    Regions A, B, C, and D
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              136. The map depicted in Figure 25 is also included as Exhibit U.

              137. Exhibit V-i contains amap packet depicting the Benchmark 2015

   House Plan, with corresponding Census 2010 statistics, prepared by GLCRO.

   Exhibit V-2 shows the map for the prior 2012-enacted House plan, and Exhibit V-

   3shows the map for the House plan enacted in 2006.

              138. Exhibit W-i is atable reporting Census 2020 population statistics for

   the 180 districts in the 2015 Benchmark House Plan, as well as CVAP estimates




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from the 5-
          year 2015-2019 Special Tabulation. 31 Exhibits W-2 and W-3 provide


similar population information for the prior, 2012-enacted and 2006-enacted plans.

         139. As aresult of the dramatic population shifts in Georgia since 2010, the

2015 Benchmark House Plan was severely malapportioned, with an overall

deviation of 56.66%, according to the 2020 Census.

         140. The 2015 Benchmark House Plan contains 47 majority-Black districts,

with 48 BCVAP-majority districts and 62 districts that are B+L+ACVAP majority.

         141. For comparison, additional 2015 Benchmark House Plan information

regarding compactness scores, county splits, VTD splits, and municipal splits is

reported infra.

C. 2021 House Plan

         142. The map in Figure 26 displays 2021 House Plan districts in south Metro

Atlanta (Region A), in the eastern and western Black Belt (Regions B and C) and

metropolitan Macon (Region D). Green labels identify majority-Black districts.

Exhibit X is ahigher resolution version of the Figure 26 map.

         143. For comparison, additional 2021 House Plan information regarding

compactness scores, county splits, VTD splits, and municipal splits is reported

infra.




31 See U.S. Census Bureau, Citizen Voting Age Population by Race and Ethnicity,"
https ://www.census gov/programs-surveys/decennial-census/about/voting-rights/cvap.htrnl.
                   .




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   Figure 26
                                2021 House Plan                       -     Regions A, B, C, and D
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          144. Exhibit V contains amap packet depicting the 2021 House Plan, with

   corresponding Census 2020 statistics, prepared by GLCRO.

         145. Exhibit Z-1 is atable reporting Census 2020 population statistics for the

   180 districts in the 2021 House Plan, as well as CVAP estimates from the 5-year

   2016-2020 Special Tabulation.

         146. Exhibit Z-2 breaks out the county population components for the 180

   districts in the 2021 House Plan.




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       147. Exhibit Z-3 is aset of 12 sub-state maps of the 2021 House Plan

organized by regional commission areas.

       148. A higher resolution version of Figure 26 is included as Exhibit Z-4.

       149. The 2021 House Plan contains 49 majority-Black districts, with 49

BCVAP-majority districts. Sixty-two districts in the 2021 House Plan are majority

B+L+ACVAP.

       150. Supplemental 2021 House Plan information regarding compactness

scores, VTD splits, county splits, municipal splits, and regional splits is reported

infra for comparison with the Illustrative House Plan.



VI.    ILLUSTRATIVE HOUSE PLAN

A. State-level Perspective

       151. The map in Figure 27 displays Illustrative House Plan districts,

identifying five additional majority Black districts (large green labels) in south

Metro Atlanta (Region A), in the Black Belt (Regions B and C), and in metropolitan

Macon (Region D). Exhibit AA is ahigher resolution version of the Figure 27

map.




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   Figure 27
    Illustrative House                     -        New Majority-Black Districts —74, 117, 133, 145, and 171
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             152. The Illustrative House Plan contains 54 majority-Black districts

   (BVAP), with 54 majority-BCVAP districts and 53 that are both BVAP and

   BCVAP-majority. Sixty-seven districts in the Illustrative House Plan are majority

   B+L+ACVAP.


             153. The five additional majority-Black House districts are:

   Region A —South Metro Atlanta
   District 74: in the Counties of Clayton (part), Henry (part), and Spalding (part)
   District 117: in the Counties of Henry (part) and Spalding (part)

   Region B           -    Eastern Black Belt/Central Savannah River Area
   District 133: (north to south) in the Counties of Wilkes (part), TaliafelTo, Warren,

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Hancock, Baldwin (part), and Wilkinson

Region C Western Black Belt
           -




District 171: in the Counties of Dougherty (part), Mitchell, and Thomas (part)

Region D Metropolitan Macon
           -




District 145: in the Counties of Macon-Bibb (part) and Monroe (part)

       154. Exhibit AA-1 is atable reporting Census 2020 population statistics for


the 180 districts in the Illustrative House Plan, as well as CVAP estimates from the

5-year 2016-2020 Special Tabulation.

       155. Exhibit AA-2 breaks out the county population components for the 180

districts in the Illustrative House Plan.

       156. Exhibit AA-3 is aset of 12 sub-state maps of the Illustrative House Plan


organized by regional commission areas.
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       157. Exhibit AA-4 is astatewide map showing the 54 majority Black House

districts (green) under the Illustrative Plan, with the five additional majority-Black

districts shaded light green.

       158. Exhibit AA-5 zooms on each of the five additional majority-Black


districts in the Illustrative House Plan

       159. Exhibit AA-6 is acore constituencies report, showing population shifts

by district from the 2021 House Plan to the Illustrative House Plan.

       160. The text descriptions of the five additional majority-Black districts in

the Illustrative House Plan set forth below are illustrated with paired comparison


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